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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

                                                   :
Rikki Garate-Poll,                                 :
                                                     Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
Medicredit, Inc.; and DOES 1-10, inclusive,        :
                                                     COMPLAINT
                                                   :
                        Defendants.                :
                                                   :
                                                   :

        For this Complaint, the Plaintiff, Rikki Garate-Poll, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of the Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of the

Plaintiff’s personal privacy by the Defendant and their agents in their illegal efforts to collect a

consumer debt.

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        3.      The Plaintiff, Rikki Garate-Poll (“Plaintiff”), is an adult individual residing in

North Las Vegas, Nevada, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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        4.     Defendant Medicredit, Inc. (“Medicredit”), is a Missouri business entity with an

address of Three Cityplace Drive, Suite 6900, St. Louis, Missouri 63141, operating as a

collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

        5.     Does 1-10 (the “Collectors”) are individual collectors employed by Medicredit

and whose identities are currently unknown to the Plaintiff. One or more of the Collectors may

be joined as parties once their identities are disclosed through discovery.

        6.     Medicredit at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

A. The Debt

        7.     The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an (the

“Creditor”).

        8.     The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

        9.     The Debt was purchased, assigned or transferred to Medicredit for collection, or

Medicredit was employed by the Creditor to collect the Debt.

        10.    The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

B. Medicredit Engages in Harassment and Abusive Tactics

        11.    Within the last year, Medicredit contacted Plaintiff in an attempt to collect the

Debt.

        12.    Medicredit informed Plaintiff that the letter Medicredit sent to Plaintiff, as

required by law, was returned.

        13.    Plaintiff verified her address, however, Medicredit refused to resend any mail
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correspondence to Plaintiff.

        14.     Medicredit advised Plaintiff to contact the creditor directly for information

regarding the Debt.

        15.     Even though Medicredit was aware Plaintiff did not receive an initial notice

regarding the Debt, Medicredit continued its collection efforts.

        16.     Plaintiff advised Medicredit that payment would be made to the creditor, not to

Medicredit.

        17.     After Plaintiff refused to make payment to Medicredit, Medicredit continued to

harass Plaintiff daily with collection calls.

        18.     Plaintiff advised Medicredit to cease calls to her cellular telephone during her

work hours, Monday to Friday from 9am-5pm.

        19.     Nonetheless, Medicredit continued to call Plaintiff during the times known to be

inconvenient for Plaintiff.

        20.     After Plaintiff paid the Debt, Medicredit continued to harass Plaintiff with

telephone calls.

        21.     When Plaintiff answered the calls from Medicredit she did not hear anyone on the

other end of the line, which caused Plaintiff a significant amount of annoyance and frustration.

C. Plaintiff Suffered Actual Damages

        22.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

        23.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.



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                                    COUNT I
                   VIOLATIONS OF THE FDCPA - 15 U.S.C. § 1692, et seq.

        24.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        25.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

        26.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

        27.     The Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants used

false, deceptive, or misleading representation or means in connection with the collection of a

debt.

        28.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

        29.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

        30.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a) in that Defendants failed

to send Plaintiff an initial letter within five days of its initial contact with Plaintiff as required by

law.

        31.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        32.     The Plaintiff is entitled to damages as a result of Defendants’ violations.




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                                   PRAYER FOR RELIEF

              WHEREFORE, Plaintiff prays that judgment be entered against Defendants:


                 1. Actual damages including, but not limited to, the emotional distress the

                     Plaintiff has suffered (and continues to suffer) as a result of the intentional,

                     reckless, and/or negligent FDCPA violations and intentional, reckless, and/or

                     negligent invasions of privacy pursuant to 15 U.S.C. § 1692k(a)(1);

                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                     § 1692k(a)(3);

                 4. Punitive damages; and

                 5. Such other and further relief that the Court may deem just and proper.

                   TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: January 17, 2018

                                             Respectfully submitted,

                                             By: __/s/ Sergei Lemberg______

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